
700 So.2d 507 (1997)
Chet KELLY
v.
BOH BROTHERS CONSTRUCTION COMPANY, INC., the City of New Orleans, the Sewerage and Water Board of New Orleans and the Board of Commissioners of the Orleans Levee District, et al.
Kenneth PEREZ
v.
BOH BROTHERS CONSTRUCTION COMPANY, INC., the City of New Orleans, the Sewerage and Water Board of New Orleans and the Board of Commissioners of the Orleans Levee District, et al.
No. 97-C-1226.
Supreme Court of Louisiana.
September 5, 1997.
Denied.
*508 TRAYLOR, J., would grant the writ.
LEMMON, J., not on panel.
